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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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CoMPANY LP, )
)
PLAlNTIFF, ) CIVIL AcTIoN
) FILE No. 05-2371 Bv
vs. )
)
wARREN UNILUBE, INC., )
)
I)EFENDANT. )

 

JOINT MQISB) SCHEDULING ORDER

 

Pursuant to Federal Rule of Civil Procedure 26(f), a conference among the parties Was

held via teleconference on August 9, 2005. Participating Were Steven M. Collins, Christina Hull

Eikhoff, Lucian Pera and Amy Pepke, counsel for plaintiff, and Benjamin

N. Thompson,

Christine F. Mayhew and Mary Katherine Hovious, counsel for defendant At the conference

the following dates Were agreed upon as the final dates fort

INITIAL DISCLOSURES PURSUANT to Fed. R. Civ. P. 26(3)(1): August 19, 2005.

 

 

 

JOINING PARTIES: October 25 2005.
AMENDING PLEADINGS: October 25 2005.
lNlTIAL MOTIONS TO DISMISS: Novernber 25 2005.
COMPLETING ALL DISCOVERY: Febnlary 27, 2006.
(a) DOCUMENT PRODUCTION: February 27, 2006.

(b) DEPOSITIONS, INTERROGATORIES AND

REQUESTS FOR ADMISSIONS: February 27, 2006.

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{c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26

EXPERT INFORMATION: December 27, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26

EXPERT INFORMATION: January 27, 2006.
(3) EXPERT WITNESS DEPOSITIONS: February_ 27, 2006.
FILING DISPOSITIVE MOTIONS.' March 31, 2006.

The parties have also filed a Joint Report to Court Regarding Rule 26(f) Planning Meeting and
Proposed Plan for Discovery (“Discovery Plan”), which reflects further agreement with respect
to a litigation plan for this case. The parties’ Discovery Plan is hereby incorporated by reference
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived

This case is set for jury trial, and the trial is expected to last 5 to 7 days. The pretrial

order date, pretrial conference date, and trial date will be set by the presiding judge

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This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(lO(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59 and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order Will not be modified or
extended

IT IS SO ORDERED.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE: jail/dwi /7, #75”‘5"

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JOINTLY PREPARED AND SUBMITTED BY:

By:
LUCIAN T. PERA (Tn. BPR No. 11641)

 

AMY M. PEPKE (Tn. BPR No. 18174)
ARMsTRoNo ALLEN, PLLC
Brinkley Plaza

80 Monroe Avenue, Suite 700
Memphis, Tennessee 38103
Tel: (901) 523-8211

Fax: (901) 522-0201

STEVEN M. COLLINS (pro hac vice)
CHRISTINA HULL EIKHOFF (pro hac vice)
ALSTON & BIRD, LLP

1201 West Peachtree Street

Atlanta, Georgia 30309

Tel: (404) 881-7000

Fax: (404) 881-7777

Attomeysj"or Plaz'ntl`)j"
Consolt`dated Container Company, LP

By:

JOHN GOLWEN (Tn. BPR No. 14324)
MARY KATHERINE HOVIOUS (Tn. BPR
No. 20136)

BAss, BERRY & SIMS PLC

100 Peabody Place, Suite 900

Memphis, Tennessee 38103

Tel: (901) 543-5900

BENJAMIN N. THOMPSON (prc) hac vice)
CHRISTINE F. MAYHEW (pro hac vi`ce)
WvRiCK RoBBINs YATES & PoNToN, LLP
41_01 Lake Boone Trail, Suite 300

Post Office Drawer 17803

Raleigh, North Carolina 27619

Tel: (919) 781-4000

Attorneysfor Defendanr
Warren Um'lube, Inc.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CV-02371 was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

ESSEE

 

Steven M. Collins
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Benjamin N. Thompson

WYRICK ROBBINS YATES & PONTON7 LLP
4101 Lake Boone Trail

Ste. 300

Raleigh7 NC 27607

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 38103--246

Amy Pepke

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/lemphis7 TN 3 8103--246

Christine F Mayhew

WYRICK ROBBINS YATES & PONTON
4101 Lake Boone Trail

Ste 300

Raliegh7 NC 27607

.lohn S. Golwen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/lemphis7 TN 38103

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Christina Hull Eikhoff
Alston & Bird LLP

One Atlantic Center

1201 West Peachtree Street
Atlanta, GA 30309--342

Honorable .l. Breen
US DISTRICT COURT

